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                    EXHIBIT 1
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            STATE OF NEW YORK
            SUPREME COURT : COUNTY OF NIAGARA


            JOANNE MACSWAN,


                                                 Plaintiff,

                    V.                                                         Index No.:

            MERCK & CO., INC.,


                                                 Defendant.



                                                  SUMMONS

         TO DEFENDANT:

                        YOU ARE SUMMONED to appear in this action by serving your answer to the
         second third-party complaint on the undersigned counsel within the time limits stated below.


                        Niagara County is designated as the county where this action will be tried,
          because the primary action is pending there.


                         TIME LIMITS TO ANSWER:

                         (I)    If this summons is served by delivery to you personally within New York
                                State, you must answer the complaint within TWENTY (20)days after
                                such delivery

                         (2)    If this summons is not served by delivery to you personally within New
                                York State, and not served pursuant to CPLR 312-a, you must answer the
                                complaint within THIRTY (30)days after service is complete.

                         (3)    If this summons is served pursuant to CPLR 312-a, see accompanying
                                STATEMENT OF SERVICE BY MAIL for time limits to answer.

                       IF YOU FAIL TO ANSWER THE COMPLAINT, within the time stated,
         judgment will be entered against you for the relief demanded in the complaint.




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          Dated:                Buffalo, New York
                                October 6, 2020


                                                    HODGSON RUSS IL.?
                                                    Attorneysfor Plaintiff Joanne MacSwan


                                                    By:     sll-lugh M. Russ Ill
                                                           Hugh M. Russ 111
                                                           W. Seth Calleri
                                                    The Guaranty Building
                                                    140 Pearl Street
                                                    Suite 100
                                                    Buffalo, New York 14202-4040
                                                    Telephone: 716.848.1388




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            STATE OF NEW YORK
            SUPREME COURT : COUNTY OF NIAGARA


            JOANNE MACSWAN,


                                                   Plaintiff,

                     V.                                                           Index No.:

             MERCK & CO., INC.,


                                                   Defendant.



                                                  COMPLAINT


                          Plaintiff Joanne MacSwan ("Ms. MacSwan") alleges for her complaint against

          Defendant Merck & Co., Inc.("Defendant") as follows:


                                            NATURE OF THE ACTION


                          I.     This lawsuit arises out of Defendant's designing, manufacturing,

          marketing, advertising, distributing, and selling of FOSAMAX for the treatment of osteoporosis,

          Paget's Disease, and other off-label uses either directly or through its agents, apparent agents,

          servants, or employees.


                          2.     Defendant concealed its knowledge of FOSAMAX's unreasonably

          dangerous risks from Ms. MacSwan, other consumers, and the medical community.




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                         3.      Defendant failed to conduct adequate and sufficient post-marketing

         surveillance of FOSAMAX after it began marketing, advertising, distributing, and selling the

          drug.


                         4.      As a result of the defective nature of FOSAMAX,persons who were

          prescribed and ingested FOSAMAX, including Ms. MacSwan, have suffered and may continue

          to suffer severe and permanent personal injuries, including osteonecrosis of the jaw and other

          irreversible damage to the jaw, and atrial fibrillation, stroke, and other irreversible damage to the

          brain.


                                                       PARTIES


                         5.      Ms. MacSwan is a New York State resident with a home address located

         at 6967 &rick Road, North Tonawanda, Niagara County, New York 14120.


                         6.      Upon information and belief, Defendant is a New Jersey business

          corporation with its principal place of business located at 820 Bear Tavern Road, West Trenton,

          New Jersey 08628.


                         7.      Upon information and belief, Defendant was at all times authorized to

         conduct business in New York.


                         8.      At all times relevant, upon information and belief, Defendant regularly

         transacted business in New York and continues to do so.


                         9.      At all relevant times, upon information and belief, Defendant, through its

         agents, servants, employees, and apparent agents, was the designer, manufacturer, marketer,

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         distributor, and seller of FOSAMAX,a bisphosphonate drug used primarily to mitigate or

         reverse the effects of osteoporosis.


                         10.    At all relevant times, upon information and belief, Defendant, through its

         agents, servants, employees, and apparent agents, sold and distributed FOSAMAX in New York

         for the treatment or prevention of osteoporosis, Paget's Disease, and other off-label uses.


                         1 1.   Upon information and belief, Defendant derives substantial revenue from

          its pharmaceutical products used or consumed in New York.


                         12.    Defendant expected, or should have expected, that its business activities

         could or would have adverse consequences within New York.


                                          JURISDICTION AND VENUE


                         13.    This Court has jurisdiction pursuant to New York Civil Practice Laws and

          Rules("CPLR")§ 302, because Defendant transacted business within New York by purposefully

         selling and distributing FOSAMAX in New York and derived substantial revenue from

          transacting such business.


                         14.    Venue in Niagara County is proper because Plaintiff is a resident of

         Niagara County. Venue is further proper because a substantial part of the events or omissions

          giving rise to the claims in this action occurred within Niagara County.


                                           FACTUAL BACKGROUND


                         1 5.   At all relevant times, Defendant was responsible for, or involved in,

         designing, manufacturing, marketing, advertising, distributing, and selling FOSAMAX.
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                         1 6.   In September of 1995, the United States Food and Drug Administration

         ("FDA")approved Defendant's compound alendronate, which is marketed by Defendant as

          FOSAMAX,for various uses, including the treatment of osteoporosis and Paget's Disease.


                         1 7.   FOSAMAX falls within a class of drugs known as bisphosphonates.

          Bisphosphonates are used for treating bone conditions such as osteoporosis and Paget's Disease.

          Other drugs within this class, such as Aredia and Zometa, are also used for chemotherapy and for

          adjunct chemotherapy, but are not indicated for use to treat non-cancerous conditions such as

         osteoporosis.


                         IS.    Throughout the 1990s and early 2000s, and through the present, medical

          articles and studies appeared reporting the frequent and common occurrence of osteonecrosis of

         the jaw as a result of nitrogenous bisphosphonates used for chemotherapy.


                         19.    Throughout the early 2000s, and through the present, medical articles and

         studies appeared reporting the frequent and common occurrence of atrial fibrillation as a result of

          bisphosphonates use. Stroke is a known consequence of atrial fibrillation.


                         20.    As with its reported and acknowledged side effects including irritation,

         erosion, and inflammation of the upper gastrointestinal tract, Defendant knew, or should have

         known, that FOSAMAX, as a nitrogenous bisphosphonate, shared a similar adverse event profile

         to the other drugs within this specific subclass of bisphosphonates (i.e., those containing

         nitrogen).


                         21.    Defendant knew,or should have known, that bisphosphonates, including

         FOSAMAX, inhibit endothelial cell function. Similarly, Defendant knew, or should have
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         known, that bisphosphonates also inhibit vascularization of the affected area and induce ischemic

         changes specific to patients' mandibles (lower jaws) and maxillae (upper jaws), and that these

          ischemic changes appear to be cumulative in nature.


                         22.      Defendant also knew, or should have known, that these factors combine to

         create a compromised vascular supply in the affected area. As a result, a minor injury or disease

         can transform into a non-healing wound—which can progress to widespread necrosis (bone

         death) and osteomyelitis (inflammation of bone marrow)—together, osteonecrosis.


                         23.      Defendant knew, or should have known, that bisphosphonates, including

          FOSAMAX, increase the release of inflammatory cytokines which are associated with, and

         cause, atrial fibrillation.


                         24.      Defendant also knew, or should have known, that'atrial fibrillation is a risk

         factor and/or predisposition for stroke(s).


                         25.      Shortly after Defendant began selling FOSAMAX,reports of

         osteonecrosis of the jaw and other dental complications among its users began to surface—a

         strong indication that FOSAMAX shared the class effects of other nitrogenous bisphosphonates

         known to the medical community. Despite gaining this knowledge, Defendant failed to

          implement further studies of osteonecrosis of the jaw relative to FOSAMAX.


                         26.      Upon information and belief, shortly after Defendant began selling

         FOSAMAX,reports of atrial fibrillation and resulting stroke among its users began to surface—a

         strong indication that FOSAMAX shared the class effects of other bisphosphonates known to the



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          medical community. Despite gaining this knowledge, Defendant failed to implement further

          studies of atrial fibrillation and/or resulting stroke relative to FOSAMAX.


                          27.    Rather than proceeding with further studies, Defendant proposed

          additional uses ofFOSAMAX under the title "FOSAMAX-D",and sought to extend the

          exclusivity period with the FDA through 2018.


                          28.    Defendant knew, or should have known, that once osteonecrosis begins

          and becomes symptomatic, it is very difficult to treat and is not reversible—osteonecrosis is a

          serious medical event and results in severe disability and/or death.


                          29.    Defendant knew,or should have known, that once atrial fibrillation begins

          and becomes symptomatic, it is a chronic condition and is not reversible—atrial fibrillation is a

          serious medical event that requires serial monitoring and results in stroke, severe disability,

          and/or death.


                          30.    Since FOSAMAX was released, the FDA has received multiple (graphic)

          reports of osteonecrosis of the jaw among users.


                          31.    Since FOSAMAX was released, the FDA has received multiple (graphic)

          reports of atrial fibrillation and/or resulting stroke among users.


                          32.    On August 25, 2004, the FDA posted a Review of relevant

          bisphosphonates. The FDA observed that the risk of osteonecrosis of the jaw was not confined

          to bisphosphonates used for chemotherapy, but actually was a class effect which specifically

          extended to FOSAMAX.


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                        33.      As a result, the FDA required Defendant's labeling of FOSAMAX to be

         amended to warn about the risks associated with osteonecrosis of the jaw—which was not

         completed until 2005.


                        34.      At the time, rather than warn patients, and despite Defendant's knowledge

         about increased risks associated with FOSAMAX, Defendant continued to defend FOSAMAX

         and to minimize its unfavorable findings.


                        35.      FOSAMAX was one of Defendant's top selling drugs, averaging more

         than $3,000,000,000.00($3 billion) dollars in annual sales.


                        36.      Consumers, including Ms. MacSwan, who used FOSAMAX for the

         treatment or prevention of osteoporosis, Paget's Disease, and/or other off-label uses, had several

         alternative safer products available to treat their conditions.


                        37.      Defendant knew of the significant risk of dental and oral complications

         associated with FOSAMAX,but it did not adequately and sufficiently warn consumers,

          including Ms. MacSwan, or the medical community at all relevant times.


                        38.      Defendant knew of the significant risk of atrial fibrillation and resulting

         stroke associated with FOSAMAX,but did not adequately and sufficiently warn consumers,

         including Ms. MacSwan, or the medical community at all relevant times.


                       FACTUAL BACKGROUND PERTINENT TO MS. MACSWAN


                        39.      As a direct result of Defendant's actions and omissions, Ms. MacSwan has

         been permanently and severely injured, having suffered serious consequences from the ingestion

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         of FOSAMAX. Ms. MacSwan has required and will continue to require ongoing medical care

         and treatment.


                          40.   Upon information and belief, Ms. MacSwan was prescribed and began

         taking FOSAMAX in January 2009.


                          41.   Ms. MacSwan used FOSAMAX as prescribed and in a foreseeable

          manner.


                          42.   As a direct and proximate result of using FOSAMAX, Ms. MacSwan

         suffered severe personal injury, and endured severe mental and physical pain and suffering.


                          43.   Ms. MacSwan used FOSAMAX which was provided to her in a condition

          that was substantially the same as the condition with which it was manufactured and sold.


                          44.   Ms. MacSwan would not have used FOSAMAX had Defendant properly

         disclosed the risks associated with its use.


                          45.   Defendant, through its affirmative misrepresentations and omissions,

         actively concealed from Ms. MacSwan and her treating physicians the verified and significant

          risks associated with taking FOSAMAX.


                          46.   Therefore, any otherwise applicable statute of limitations must be tolled

         by reasons of Defendant's fraudulent concealment.


                          47.   As a result of Defendant's action and omissions, Ms. MacSwan and her

          prescribing physicians were unaware, and could not have reasonably known or have learned


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         through reasonable diligence, that Ms. MacSwan had been exposed to the risks identified in this

         Complaint.


                         48.    Ms. MacSwan's injuries occurred as the direct and proximate result of

         Defendant's conscious, willing, and knowing acts, omissions, and misrepresentations.


                                           FIRST CAUSE OF ACTION
                                                  Negligence

                         49.    Ms. MacSwan repeats and realleges the above paragraphs as if fully set

         forth herein.


                         50.    Defendant owed Ms. MacSwan a duty to exercise reasonable care when

         designing, manufacturing, marketing, advertising, distributing, and selling FOSAMAX.


                         51.    Defendant breached this duty by failing to properly and effectively test

         FOSAMAX,to analyze the resulting data, and to implement any necessary precautions.


                         52.    Defendant further breached this duty by failing to exercise reasonable care

         in failing to warn Ms. MacSwan of the extreme risks associated with FOSAMAX and of the

         possibility of resulting harm which could foreseeably occur.


                         53.    As a direct and proximate result of Defendant's actions, omissions, and

         misrepresentations, Ms. MacSwan has sustained significant and permanent injuries requiring

         continued and likely lifelong healthcare-related services including, but not limited to,

         hospitalization, physician and nurse care, monitoring ofsymptoms and progress(or lack thereof),

         treatment, medication, and supplies. Further, Ms. MacSwan has suffered and will continue to



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          suffer a diminished quality of life, the increased risk of'premature death, and other losses and

          damages.


                          54.    As a result of the injuries suffered by Ms. MacSwan,she was caused to

          suffer damages in an amount exceeding the jurisdictional limits of all lower courts which would

          otherwise have jurisdiction.


                          55.    Defendant knowingly acted with conscious, wanton, willful, and

          deliberate disregard for the value of Ms. MacSwan's life, thereby entitling

          Ms. MacSwan to obtain punitive damages so to prevent other acts such as this from occurring

          again.


                                          SECOND CAUSE OF ACTION
                                               Strict Liability

                          56.    Ms. MacSwan repeats and realleges the above paragraphs as if fully set

          forth herein.


                          57.    Defendant manufactured, marketed, distributed, supplied, and/or sold

          FOSAMAX in a defective and unreasonably dangerous condition to Ms. MacSwan.


                          58.    Defendant promoted FOSAMAX to Ms. MacSwan in substantially the

          same condition in which it was manufactured and sold by Defendant.


                          59.    Ms. MacSwan used FOSAMAX as prescribed by the medical community,

          including her prescribing physician, and in a manner normally intended, recommended,

          promoted, and marketed by Defendant.



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                        60.     Upon the intended and reasonably foreseeable usage by Ms. MacSwan,

         FOSAMAX failed to perform safely and in the manner in which it was manufactured, marketed,

         distributed, supplied, and/or sold.


                        61.     FOSAMAX was defective in its design and/or formulation, as the

         foreseeable risks exceeded the benefits associated with its design and/or formulation. Further,

         FOSAMAX posed a greater risk than other similar medications.


                        62.     Similarly, during all relevant times, Defendant failed to indicate anywhere

         on related packaging of the risks posed by the use of FOSAMAX.


                        63.     Defendant knew, or should have known, of the defective nature of

         FOSAMAX.


                        64.     Defendant continued to design, manufacture, market, sell, and/or promote

         FOSAMAX to maximize profits for itself at the expense of patients including Ms. MacSwan.

         Defendant acted with utter disregard for, and in direct contravention of, the foreseeable risks

         associated with FOSAMAX.


                        65.     In no way could Ms. MacSwan have discovered FOSAMAX's defects

         through the exercise of reasonable care.


                        66.     As a direct and proximate consequence of Defendant's actions, omissions,

         and misrepresentations, Ms. MacSwan has sustained significant and permanent injuries requiring

         continued and likely lifelong healthcare-related services including, but not limited to,

         hospitalization, physician and nurse care, monitoring ofsymptoms and progress (or lack thereof),




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         treatment, medication, and supplies. Further, Ms. MacSwan has suffered and will continue to

         suffer a diminished quality of life, the increased risk of premature death, and other losses and

         damages.


                          67.   As a result of the injuries suffered by Ms. MacSwan,she was caused to

         suffer damages in an amount exceeding the jurisdictional limits of all lower courts which would

         otherwise have jurisdiction.


                         68.    Defendant knowingly acted with conscious, wanton, willful, and

         deliberate disregard for the value of Ms. MacSwan's life, thereby entitling

         Ms. MacSwan to obtain punitive damages so to prevent other acts such as this from occurring

         again.


                                          THIRD CAUSE OF ACTION
                                          Breach of Express Warranty

                          69.   Ms. MacSwan repeats and realleges the above paragraphs as if fully set

         forth herein.


                         70.    Upon information and belief, through its advertising and otherwise,

         Defendant expressly represented to Ms. MacSwan that FOSAMAX had been adequately tested,

         was to be prescribed in accordance with its intended uses, was of merchantable quality, and was

         not dangerous.


                         71.    By contrast, although Defendant tested FOSAMAX,FOSAMAX does not

         conform with Defendant's express warranties regarding same, because it is inherently dangerous,




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          has numerous adverse side effects, and has been known to cause severe and permanent injuries

          including, but not limited to, osteoncerosis of the jaw.


                         72.     FOSAMAX failed to perform in accordance with how Ms. MacSwan and

          her treating physicians reasonably assumed it would.


                         73.     Ms. MacSwan and her treating physicians reasonably relied upon

          Defendant's express warranties.


                         74.     As a direct and proximate consequence of Defendant's actions, omissions,

          and misrepresentations, Ms. MacSwan has sustained significant and permanent injuries requiring

          continued and likely lifelong healthcare-related services including, but not limited to,

          hospitalization, physician and nurse care, monitoring of symptoms and progress (or lack thereof),

          treatment, medication, and supplies. Further, Ms. MacSwan has suffered and will continue to

          suffer a diminished quality of life, the increased risk of premature death, and other losses and

          damages.


                         75.     As a result of the injuries suffered by Ms. MacSwan, she was caused to

          suffer damages in an amount exceeding the jurisdictional limits of all lower courts which would

          otherwise have jurisdiction.


                         76.     Defendant knowingly acted with conscious, wanton, willful, and

          deliberate disregard for the value of Ms. MacSwan's life, thereby entitling

          Ms. MacSwan to obtain punitive damages so to prevent other acts such as this from occurring

          again.



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                                        FOURTH CAUSE OF ACTION
                                         Breach of Implied Warranty

                         77.   Ms. MacSwan repeats and realleges the above paragraphs as if fully set

         forth herein.


                         78.   Defendant manufactured, marketed, distributed, supplied, and/or sold

         FOSAMAX.


                         79.   Defendant promoted FOSAMAX to Ms. MacSwan in substantially the

         same condition in which it was manufactured and sold by Defendant.


                         80.   Defendant impliedly warranted that FOSAMAX was of merchantable

         quality and fit for use in the medical community when FOSAMAX was not reasonably fit for its

          intended purpose.


                         81.   Ms. MacSwan and her treating physicians reasonably relied upon

         Defendant's representations that FOSAMAX was of merchantable quality and fit for use in the

          medical community, and used FOSAMAX in substantially the same condition as it was

         manufactured, marketed, distributed, supplied, and/or sold by Defendant.


                         82.   Defendant breached its implied warranty to Ms. MacSwan by

         manufacturing, marketing, distributing, supplying, selling, and/or promoting a product,

         FOSAMAX, which was not reasonably fit for its intended purpose.


                         83.   Defendant breached its implied warranty to Ms. MacSwan with an

         unreasonably fit product which Ms. MacSwan used in the customary, usual, and reasonably

         foreseeable manner.

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                         84.    Defendant breached its implied warranty to Ms. MacSwan by its egregious

          behavior and utter disregard for human life.


                         85.    As a direct and proximate consequence of Defendant's actions, omissions,

         and misrepresentations, Ms. MacSwan has sustained significant and permanent injuries requiring

         continued and likely lifelong healthcare-related services including, but not limited to,

          hospitalization, physician and nurse care, monitoring of symptoms and progress(or lack thereof),

         treatment, medication, and supplies. Further, Ms. MacSwan has suffered and will continue to

         suffer a diminished quality of life, the increased risk of premature death, and other losses and

         damages.


                         86.    As a result of the injuries suffered by Ms. MacSwan,she was caused to

         suffer damages in an amount exceeding the jurisdictional limits of all lower courts which would

         otherwise have jurisdiction.


                         87.    Defendant knowingly acted with conscious, wanton, willful, and

         deliberate disregard for the value of Ms. MacSwan's life, thereby entitling

          Ms. MacSwan to obtain punitive damages so to prevent other acts such as this from occurring

         again.


                                           FIFTH CAUSE OF ACTION
                                          Fraudulent Misrepresentations

                         88.    Ms. MacSwan repeats and realleges the above paragraphs as if fully set

         forth herein.




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                        89.       Defendant knowingly, and with disregard for the truth and veracity of its

         statements, made fraudulent representations with respect to FOSAMAX and its associated risks.


                        90.       Defendant acted with the purpose of deceiving Ms. MacSwan into relying

         upon such fraudulent representations.


                        91.       Defendant acted with the purpose of deceiving others like Ms. MacSwan

         into relying upon such fraudulent representations.


                        92.       Defendant acted with the purpose of deceiving Ms. MacSwan's treating

         and/or prescribing physician(s) into relying upon such fraudulent representations.


                        93.       Ms. MacSwan justifiably relied on Defendant's fraudulent

         m isrepresentation(s).


                        94.       Ms. MacSwan's treating and/or prescribing physician(s)justifiably relied

         on Defendant's fraudulent misrepresentation(s).


                        95.       As a direct and proximate consequence of Defendant's actions, omissions,

         and misrepresentations, Ms. MacSwan has sustained significant and permanent injuries requiring

         continued and likely lifelong healthcare-related services including, but not limited to,

         hospitalization, physician and nurse care, monitoring of symptoms and progress (or lack thereof),

         treatment, medication, and supplies. Further, Ms. MacSwan has suffered and will continue to

         suffer a diminished quality of life, the increased risk of premature death, and other losses and

         damages.




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                         96.     As a result of the injuries suffered by Ms. MacSwan, she was caused to

         suffer damages in an amount exceeding the jurisdictional limits of all lower courts which would

         otherwise have jurisdiction.


                         97.     Defendant knowingly acted with conscious, wanton, willful, and

         deliberate disregard for the value of Ms. MacSwan's life, thereby entitling

          Ms. MacSwan to obtain punitive damages so to prevent other acts such as this from occurring

         again.


                                           SIXTH CAUSE OF ACTION
                                             Fraudulent Concealment

                         98.     Ms. MacSwan repeats and realleges the above paragraphs as if fully set

         forth herein.


                         99.     Defendant had a duty to disclose material information about FOSAMAX

         and failed to do so.


                         1 00.   Defendant fraudulently concealed true and accurate information regarding

         the substantial risks associated with the use of FOSAMAX,and instead fraudulently represented

         to Ms. MacSwan that FOSAMAX was fit and safe for use as part of her required treatment.


                         101.    Defendant had information related to the risks associated with taking, or

         ingesting, FOSAMAX.


                         102.    Defendant knowingly concealed such information, and the fraudulent

         representations made otherwise were, in fact, known by Defendant to be false.



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                        103.    Defendant made these fraudulent concealments for the purpose of

         inducing reliance.


                        104.    Ms. MacSwan and her treating physician(s) were deceived into relying

         upon Defendant's fraudulent representations.


                        105.    Ms. MacSwan justifiably relied on the Defendant's misrepresentations.


                        1 06.   Ms. MacSwan's treating physician(s)justifiably relied on the Defendant's

         misrepresentations.


                        107.    As a direct and proximate consequence of Defendant's actions, omissions,

         and misrepresentations, Ms. MacSwan has sustained significant and permanent injuries requiring

         continued and likely lifelong healthcare:related services including, but not limited to,

         hospitalization, physician and nurse care, monitoring of symptoms and progress(or lack thereof),

         treatment, medication, and supplies. Further, Ms. MacSwan has suffered and will continue to

         suffer a diminished quality of life, the increased risk of premature death, and other losses and

         damages.


                        108.    As a result of the injuries suffered by Ms. MacSwan,she was caused to

         suffer damages in an amount exceeding the jurisdictional limits of all lower courts which would

         otherwise have jurisdiction.


                        109.    Defendant knowingly acted with conscious, wanton, willful, and

         deliberate disregard for the value of Ms. MacSwan's life, thereby entitling




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          Ms. MacSwan to obtain punitive damages so to prevent other acts such as this from occurring

         again.


                               WHEREFORE, plaintiff demands compensatory and punitive damages on each

         cause of action together with reasonable attorneys' fees where recoverable and any interest,

         costs, disbursements and/or further relief as this Court may deem necessary and appropriate.


          Dated:               Buffalo, New York
                               October 6, 2020


                                                        HODGSON RUSS LLA)
                                                        Attorneysfor Plaint69; Joanne MacSwan


                                                        By: s/Hugh M. Russ Ill
                                                                Hugh M. Russ 111
                                                        The Guaranty Building
                                                        1 40 Pearl Street
                                                        Suite 100
                                                        Buffalo, New York 14202-4040
                                                        Telephone: 716.848.1388




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